Case 2:11-cr-00036-MSD-FBS Document 186 Filed 10/07/11 Page 1 of 7 PageID# 1185


                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division

 UNITED STATES OF AMERICA                        )
                                                 )
         v.                                      )           Criminal No. 2:11cr36
                                                 )
 SAMUEL LLOYD,                                   )
                                                 )
 DAVID A. WHEELER,                               )
                                                 )
   and                                           )
                                                 )
 EARL R. FULLER, JR.,                            )
                                                 )
         Defendants.                             )

               GOVERNMENT’S RESPONSE TO DEFENDANTS’ MOTIONS
                 FOR JUDGMENT OF ACQUITTAL AND NEW TRIAL

         Comes now the United States of America, by Laura M. Everhart, Assistant United States

 Attorney, and in response to the defendants’ motions for judgment of acquittal and for new trials

 submits that said motions should be denied for the following reasons:

         Federal Rule of Criminal Procedure 29 permits the district court to “enter a judgment of

 acquittal of any offense for which the evidence is insufficient to sustain a conviction.” The

 Fourth Circuit Court of Appeals has determined that, “the relevant question is whether, after

 viewing the evidence in the light most favorable to the prosecution, any rational trier of fact

 could have found the essential elements of the crime beyond a reasonable doubt.” Jackson v.

 Virginia, 443 U.S. 307, 319 (1979) (emphasis in original). In making this determination, “the

 jury verdict must be upheld if there exists substantial evidence, including circumstantial and

 direct evidence, to support the verdict, viewing the evidence in the light most favorable to the

 government.” United States v. Stewart, 256 F.3d 231, 249 (4th Cir. 2001), cert. denied, 534 U.S.

 1049 (2001). Moreover, the jury is responsible for weighing the credibility of the evidence,

 resolving any apparent conflicts and, if the evidence supports different interpretations, deciding
Case 2:11-cr-00036-MSD-FBS Document 186 Filed 10/07/11 Page 2 of 7 PageID# 1186


 which one to believe. United States v. Murphy, 35 F.3d 143, 148 (4th Cir. 1994). Furthermore,

 the court “cannot make [its] own credibility determinations but must assume that the jury

 resolved all contradictions in testimony in favor of the Government.” United States v. United

 Med. & Surgical Supply Corp., 989 F.2d 1390, 1402 (4th Cir. 1993).

        Indeed, the Fourth Circuit has found the uncorroborated testimony of a single witness,

 even where the witness was an informant or accomplice, to be sufficient. See, e.g., United States

 v. Wilson, 115 F.3d 1185, 1189-90 (4th Cir. 1997); United States v. Manbeck, 744 F.2d 360, 392

 (4th Cir. 1984); United States v. Arrington, 719 F.2d 701, 705 (4th Cir. 1983). Finally, in

 conducting its review, a court does not assess the credibility of witnesses, weigh the evidence, or

 resolve any conflicts in the evidence presented; these are inquiries properly reserved for the jury.

 See Burks v. United States, 437 U.S. 1, 16 (1978); United States v. Uzenski, 434 F.3d 690, 700

 (4th Cir. 2006); United States v. Alerre, 430 F.3d 681, 693 (4th Cir. 2005); United States v.

 Lentz, 383 F.3d 191, 199 (4th Cir. 2004); United States v. Burgos, 94 F.3d 849, 862-63 (4th Cir.

 1996) (en banc).

        The defendants attempt to support their motions by attacking the credibility of the

 government’s witnesses, calling their testimony “unreliable” (Lloyd), “conflicting” (Wheeler),

 and “vague and inconsistent” (Fuller). Through vigorous cross examination at trial, counsel

 attempted to paint these witnesses as liars motivated by self-interest.         The jury was not

 persuaded, despite these earnest efforts. The law does not permit the jury’s determination on

 these issues to be supplanted after they have returned their verdicts.

        Lloyd also argues that the conspiracy to distribute cocaine was unrelated to the

 conspiracy to distribute marijuana. He maintains that there was little evidence presented to link

 Lloyd to the cocaine. However, there was overwhelming evidence linking him to the “stash

 house” on Barkleaf Drive. According to Black, Hinton and Todd, that location was used to store


                                                  2
Case 2:11-cr-00036-MSD-FBS Document 186 Filed 10/07/11 Page 3 of 7 PageID# 1187


 and package both marijuana and cocaine and to collect and count drug proceeds. Lloyd and

 Wheeler stayed at the house when they were in town, which usually coincided with shipments of

 drugs arriving in Norfolk. Lloyd and Wheeler were frequently observed at Barkleaf during

 surveillance.

        All three Ford F150s were often seen at Barkleaf, and they were used to transport both

 cocaine and marijuana, as well as money. When Wheeler brought the 7 kilograms of cocaine

 from the Washington, D.C. area, he brought it to Barkleaf.

        Lloyd also gives short shrift to the trips that Black and Woods made to get multi-

 kilogram quantities of cocaine from Lloyd in Atlanta. The fact that these trips occurred just

 outside of the statute of limitations is of no consequence. They were all part of the continuing

 scheme that continued into 2011.

        Lloyd also ignores the testimony of Black and several other witnesses that the

 unsuccessful plan to transport drugs from Texas to the Eastern District of Virginia in June 2008

 involved both cocaine and 1,500 pounds of marijuana. Similarly, he fails to note that when

 Lloyd met Heyward in 2007, Lloyd told Heyward that he was seeking transport for both drugs.

 The jury, however, had no difficulty recalling this testimony.

        Wheeler sees conspiracies behind every tree. To begin with, the fact that a witness such

 as Hawkins was involved in more than one conspiracy does not absolve the defendant of his

 responsibility for his participation in the conspiracy with which he was charged and convicted.

 Hawkins’ services were “for hire,” and he did use his access to commercial vehicles for the

 benefit of other criminals. But, as Hawkins, Black, Napier, Nunn, and Scott testified, it was

 Hawkins who transported the 1,700 pounds of marijuana from Texas to Norfolk at the request of

 Lloyd and Daugherty, and it was Wheeler who helped to offload and distribute it.




                                                 3
Case 2:11-cr-00036-MSD-FBS Document 186 Filed 10/07/11 Page 4 of 7 PageID# 1188


         Wheeler also claims that there was a separate “Woods conspiracy,” but Woods was

 involved, briefly, with Lloyd and Black in the charged conspiracy. Whether Woods later went

 on to other things is irrelevant.

         Wheeler further identifies a “Gonzalez conspiracy.” If that name was even mentioned

 during this trial, it was in passing on cross examination.

         Last, Wheeler argues that the activities of his coconspirator, Lloyd, in Atlanta and

 Arizona were not part of this conspiracy, even though they occurred during the conspiracy and

 involved the transportation of drugs from Texas and Arizona to the Eastern District of Virginia

 as well as Maryland and the Washington, D.C. area via tractor-trailer. This is precisely what this

 conspiracy involved.

         Fuller’s argument is based almost completely on an attack on the credibility of the

 witnesses, which the jury resolved in the government’s favour. He also suggests that since he

 was “merely” a local distributor for the organization, he is somehow not culpable for his

 participation in the conspiracy. However, even participation on one occasion is sufficient to

 sustain a conspiracy conviction, as the jury was instructed. Fuller’s involvement was more than

 sufficient to support the verdicts.

         All three defendants use the same arguments to support their motions for a new trial, and

 their claims are similarly meritless. Federal Rule of Criminal Procedure 33 permits the district

 court to “grant a new trial if the interest of justice so requires.” However, the Fourth Circuit

 Court of Appeals has cautioned that a court “should exercise its discretion to grant a new trial

 sparingly and that it should do so only when the evidence weighs heavily against the verdict.”

 United States v. Perry, 335 F.3d 316, 320 (4th Cir. 2003), cert. denied, 540 U.S. 1185 (2004)

 (internal quotations and citations omitted).




                                                   4
Case 2:11-cr-00036-MSD-FBS Document 186 Filed 10/07/11 Page 5 of 7 PageID# 1189


         Fuller advances one additional argument: that his motions for a mistrial on the basis of

 Cowan’s aborted reference to “lockup” and of Agent Jones’ characterization of a residence as

 Fuller’s home.

         In Oregon v. Kennedy, 456 U.S. 667, 674-75, 102 S. Ct. 2083, 72 L. Ed 2d 416 (1982),

 the United States Supreme Court noted that it is “. . . a rare trial of any complexity in which

 some proffered evidence by the prosecutor or by the defendant’s attorney will not be found

 objectionable by the trial court.      Most such objections are undoubtedly curable by simply

 refusing to allow the proffered evidence to be admitted . . .” A misstep by the prosecutor need

 not result in a mistrial unless it was specifically designed to invite one. Id. at 676. The same

 reasoning applies to action by the trial judge to correct other errors which occur in every trial.

 Delaware v. Van Arsdall, 475 U.S. 673, 681, 106 S. Ct. 1431, 89 L. Ed. 2d 674 (1986). (“. . . the

 Constitution entitles the defendant to a fair trial, not a perfect one.”)

         When, as in this case, the weight of the evidence against an accused is overwhelming, an

 improper question (or answer) when placed in the overall context of a trial, does not result in

 prejudice to a degree which requires a mistrial. United States v. Monteer, 512 F.2d 1047, 1051

 (8th Cir. 1975), cert. denied, 423 U.S. 855 (1975). (Motion for mistrial properly denied where

 prosecutor asked question which intimated that defendant had criminal record.) In United States

 v. Davis, 657 F.2d 637 (4th Cir. 1981), the Fourth Circuit noted that, “In considering the

 harmlessness of the error, it is proper to consider other evidence of the defendant’s guilt.” Id. at

 640.

         In United States v. Lay, 644 F.2d 1087, 1091 (5th Cir. 1981), cert. denied, 454 U.S. 869

 (1981), the prosecutor improperly questioned a defendant about a prior criminal charge which

 did not result in a final conviction. The court held that, “in light of the overwhelming evidence

 against the defendant . . . we hold that the prosecutor’s brief and inadvertent misstatement was


                                                    5
Case 2:11-cr-00036-MSD-FBS Document 186 Filed 10/07/11 Page 6 of 7 PageID# 1190


 harmless beyond a reasonable doubt.” Id. at 1091. The court also noted that if any harm had

 been done by mentioning the prior charge, it could have been corrected by an instruction to the

 jury. In Lay, however, the defendant’s attorney refused the court’s offer to make any corrective

 instructions suitable to the defendant. The court noted that, “since any slight prejudice could

 have been cured by the very jury instruction the defendant requested not be made, we cannot

 now allow such clearly harmless prejudice to be grounds for a reversal.” Id. at 1091-92.

        In this case, the testimony was fleeting and given in a context which did not place undue

 emphasis on the testimony. There is no allegation that it was intentionally elicited. The Court

 employed swift and specific corrective measures. The jury was told to disregard the questions

 and answers and there is nothing to suggest that they did otherwise.

        For the reasons stated above, the defendants’ motions should be denied.

                                                     Respectfully submitted,

                                                     NEIL H. MACBRIDE
                                                     UNITED STATES ATTORNEY

                                              By:        /s/
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                                                 6
Case 2:11-cr-00036-MSD-FBS Document 186 Filed 10/07/11 Page 7 of 7 PageID# 1191



                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 7th day of October, 2011, I electronically filed the

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 such filing (NEF) to the following:

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                                                7
